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                              United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERM AN DIVISION


 UNITED STATES OF AMERICA                           §
                                                    §
     vs.                                            §           Case No. 4:10cr86
                                                    §           (Judge Folsom)
 HAROLD LEANDER EVANS, JR. (5)                      §

                   MEMORANDUM ADOPTING REPORT AND
           RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

           Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for the revocation of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. Having received the report of the United States

 Magistrate Judge pursuant to its order, and having received Defendant’s waiver of right to object and

 waiver of right to be present and speak at sentencing, this Court is of the opinion that the findings

 and conclusions of the Magistrate Judge are correct, and adopts same as the findings and conclusions

 of the Court. It is therefore,

           ORDERED that the Magistrate Judge's Report is ADOPTED as the opinion of the Court.

 It is further

           ORDERED that Defendant’s supervised release is hereby REVOKED. It is further
 .
           ORDERED that Defendant is sentenced to a term of imprisonment of eleven (11) months

 with no supervised release to follow. It is also recommended that Defendant be housed in the

 Bureau of Prisons, Seagoville Unit.

           SIGNED this 17th day of November, 2011.




                                                        ____________________________________
                                                        DAVID FOLSOM
                                                        UNITED STATES DISTRICT JUDGE
